                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION
                        CIVIL ACTION FILE NO. 5:12-cv-00685-D


DWAYNE COFFER,                          )
                                        )
               Plaintiff,               )
                                        )
       v.                               )      MOTION TO DISMISS AND ANSWER
                                        )
WARREN COUNTY BOARD                     )
OF EDUCATION,                           )
                                        )
               Defendant.               )
 


       The Warren County Board of Education (“Board”), by and through its attorneys, answers

Plaintiff’s Complaint in this matter as follows:

                                         FIRST DEFENSE
                            (Motion to Dismiss Pursuant to Rule 12(b)(6))

       Plaintiff’s Second Cause of Action (retaliation) fails to state a claim upon which relief

can be granted and should be dismissed. As explained more fully in the brief filed

contemporaneously with this Motion to Dismiss/Answer, Plaintiff cannot establish a claim of

retaliation because he never exercised a right provided by USERRA prior to the nonrenewal of

his contract. As explained in the Complaint, Plaintiff’s contract was to serve as Assistant

Principal at Warren County High School (“WCHS”). There is no allegation in the Complaint

that Plaintiff was not returned to his position as an Assistant Principal at WCHS. Since Mr.

Coffer never exercised a right protected by USERRA, his retaliation claim cannot stand.

                                        SECOND DEFENSE

       As a further defense and without waiving any other defense, Defendant expressly denies

Plaintiff’s claims of discrimination and retaliation and states that any and all actions taken by the



            Case 5:12-cv-00685-D Document 8 Filed 12/19/12 Page 1 of 8
school system were justified by legitimate concerns about Plaintiff’s performance and/or

conduct.

                                        THIRD DEFENSE

       As a further defense and without waiving any other defense, to the extent that Plaintiff

has failed to exercise ordinary care to minimize damage, Plaintiff’s claims are barred by the

doctrines of avoidable consequences and failure to mitigate damages.

                                      FOURTH DEFENSE

       As a further defense and without waiving any other defense, Plaintiff’s own conduct bars

relief on the basis of waiver and estoppel.

                                        FIFTH DEFENSE

       Defendant pleads any and all applicable immunities to which it may be entitled, including

but not limited to, sovereign immunity and governmental immunity, in bar of Plaintiff’s claims.

                                        SIXTH DEFENSE

       Plaintiff’s claim is barred by the doctrine of laches.

                                      SEVENTH DEFENSE

       Defendant reserves the right to amend its Answer and to assert any additional defenses as

additional evidence is discovered during the course of this litigation.

                                   EIGHTH DEFENSE
                                         (Answer)
                (Responses to Numbered Paragraphs of the Amended Complaint)

       Defendant responds to the specific allegations in the numbered paragraphs of the

Amended Complaint as follows:

       1.      Admitted.




            Case 5:12-cv-00685-D Document 8 Filed 12/19/12 Page 2 of 8
          2.      The allegations in Paragraph 2 of the Complaint are legal conclusions to which no

response is required. To the extent a response is required, the allegations in Paragraph 2 are

denied.

          3.      The allegations in Paragraph 3 of the Complaint are legal conclusions to which no

response is required. To the extent a response is required, the allegations in Paragraph 3 are

denied.

          4.      Admitted.

          5.      Upon information and belief, the allegations in Paragraph 5 are admitted.

          6.      It is admitted that Principal Joyce Long interviewed Plaintiff and recommended to

the Central Office that Plaintiff be offered an Assistant Principal position. It is further admitted

that Superintendent Dr. Ray Spain recommended to the Board that Plaintiff be hired as an

Assistant Principal. Except as specifically admitted herein, the allegations in Paragraph 6 are

denied.

          7.      It is admitted that the Board approved a two-year administrator contract for

Plaintiff on August 28, 2006. It is further admitted that Plaintiff renounced any rights to tenure

he might have had in any administrative capacity. It is admitted that Mildred Broadnax served as

an Assistant Principal at WCHS during the 2006-2007 school year. Except as admitted herein,

the allegation in Paragraph 7 are denied.

          8.      It is admitted that Carolyn Faucette was hired as a teacher in 2004 and appointed

to the position of Curriculum Specialist in 2007. Except as specifically admitted herein, the

allegations in Paragraph 8 are denied.

          9.      Admitted.

          10.     Upon information and belief, the allegations in Paragraph 10 are denied.




                Case 5:12-cv-00685-D Document 8 Filed 12/19/12 Page 3 of 8
          11.     Upon information and belief, the allegations in Paragraph 11 are admitted.

          12.     Admitted.

          13.     It is admitted that Ms. Faucette was appointed Acting Principal during the

absence of Ms. Long. Except as specifically admitted herein, the allegations in Paragraph 13 are

denied.

          14.     It is admitted that Ms. Faucette believed that she should continue as Acting

Principal upon Plaintiff’s return from military service, and that Plaintiff disagreed. Except as

specifically admitted herein, the allegations in Paragraph 14 are denied.

          15.     It is admitted that Mr. Coffer expressed his belief that he should carry out the

duties of principal at a meeting attended by Ms. Faucette, Assistant Principal Broadnax, and

Assistant Superintendent Jefferies. Except as specifically admitted herein, the allegations in

Paragraph 15 are denied.

          16.     It is admitted that Ms. Jefferies called Dr. Spain to inform him of the meeting that

took place on April 9, 2008. Except as specifically admitted herein, the allegations in Paragraph

16 are denied.

          17.     Admitted.

          18.     Admitted.

          19.     It is admitted that the two evaluations currently in Mr. Coffer’s personnel file

generally rated him as “At Standard” or “Above Standard.” It is denied that these evaluations

were in Mr. Coffer’s personnel file at the time he was recommended for non-renewal. Except as

specifically admitted herein, the allegations in Paragraph 19 are denied.

          20.     Upon information and belief, the allegations in Paragraph 20 are denied.




                Case 5:12-cv-00685-D Document 8 Filed 12/19/12 Page 4 of 8
       21.      It is admitted that Ms. Mason heard rumors from WCHS staff members that Mr.

Coffer shared with teachers at the high school that he did not have to report for duty until the

summer, but was to report earlier to get away from the school. Except as specifically admitted

herein, the allegations in Paragraph 21 are denied.

       22.      It is admitted that Superintendent Spain informed Plaintiff that he would be

recommended for non-renewal before the May 1 deadline required by statute. Except as

specifically admitted herein, the allegations in Paragraph 22 are denied.

       23.      It is admitted that Mr. Coffer did not resign his position. Except as specifically

admitted herein, the allegations in Paragraph 23 are denied.

       24.      It is admitted that the Board voted to non-renew Plaintiff’s contract at its April 28,

2008 meeting. Except as specifically admitted herein, the allegations in Paragraph 24 are denied.

       25.      Denied.

       26.      Denied.

       27.      Admitted.

       28.      It is admitted that the law generally requires that subsequent contracts offered to

school administrators following the initial two year contract be for four (4) years. Except as

specifically admitted herein, the allegations in paragraph 28 are denied.

                                  FIRST CAUSE OF ACTION

       29.      As to the allegations in Paragraph 1 through 28 of the Complaint, Defendant

realleges and incorporates by reference its responses to the numbered paragraphs as if fully set

forth herein.

       30.      Denied.

       31.      Denied.




             Case 5:12-cv-00685-D Document 8 Filed 12/19/12 Page 5 of 8
       32.      Denied.

       33.      Denied.

                                 SECOND CAUSE OF ACTION

       34.      As to the allegations in Paragraph 1 through 33 of the Complaint, Defendant

realleges and incorporates by reference its responses to the numbered paragraphs as if fully set

forth herein.

       35.      See First Defense (Motion to Dismiss pursuant to Rule 12(b)(6)), supra., and

Memorandum of Law in Support of Motion to Dismiss.

       36.      See First Defense (Motion to Dismiss pursuant to Rule 12(b)(6)), supra., and

Memorandum of Law in Support of Motion to Dismiss.

       37.      See First Defense (Motion to Dismiss pursuant to Rule 12(b)(6)), supra., and

Memorandum of Law in Support of Motion to Dismiss.

                              ALLEGATION OF WILLFULNESS

       38.      As to the allegations in Paragraph 1 through 37 of the Complaint, Defendant

realleges and incorporates by reference its responses to the numbered paragraphs as if fully set

forth herein.

       39.      Denied.

       40.      Denied.

       WHEREFORE, having answered each and every allegation contained in the Complaint,

Defendant Board prays the Court as follows:

       1.       That Plaintiff have and recover nothing of Defendant, and that the claims be

                dismissed with prejudice;

       2.       That the costs of this action be taxed against Plaintiff;




             Case 5:12-cv-00685-D Document 8 Filed 12/19/12 Page 6 of 8
       3.     That Plaintiff’s prayer for relief be denied in its entirety;

       4.     That Defendant have and recover its attorneys fees as may be recoverable under

applicable law; and

       5.     That Defendant have and recover such other and further relief as the Court may

deem just and proper.



       This the 19th day of December 2012.

                                              Respectfully submitted,

                                              /s/ Adam S. Mitchell
                                              Adam S. Mitchell
                                              Attorneys for Defendant
                                              THARRINGTON SMITH, L.L.P.
                                              209 Fayetteville Street
                                              Post Office Box 1151
                                              Raleigh, North Carolina 27602-1151
                                              Telephone: (919) 821-4711
                                              Fax: (919) 829-1583
                                              E-mail: amitchell@tharringtonsmith.com
                                              State Bar No. 36949


                                              /s/ Lewis A. Thompson, III
                                              Lewis A. Thompson, III
                                              Banzet, Thompson, & Styers, PLLC
                                              101 N. Front Street
                                              Post Office Box 535
                                              Warrenton, North Carolina 27589
                                              Phone: (252) 257-3166
                                              Fax: (252) 257-2053
                                              Email: al.thompson@banzetlaw.com
                                              State Bar No. 8058




            Case 5:12-cv-00685-D Document 8 Filed 12/19/12 Page 7 of 8
                                   CERTIFICATE OF SERVICE

        IT IS HEREBY CERTIFIED that a copy of the foregoing MOTION TO
DISMISS/ANSWER was this filed electronically this date using CM/ECF which will send
notification of such filing to the following:

           Seth M. Wood
           Assistant United States Attorney
           310 New Bern Avenue
           Suite 800, Federal Building
           Raleigh, NC 27601-1461
           seth.wood@usdoj.gove
           Attorney for Plaintiff


           This the 19th day of December 2012.

                                                 /s/ Adam S. Mitchell
                                                 Adam S. Mitchell
                                                 Attorneys for Defendant
                                                 THARRINGTON SMITH, L.L.P.
                                                 209 Fayetteville Street
                                                 Post Office Box 1151
                                                 Raleigh, North Carolina 27602-1151
                                                 Telephone: (919) 821-4711
                                                 Fax: (919) 829-1583
                                                 E-mail: amitchell@tharringtonsmith.com
                                                 State Bar No. 36949




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               Case 5:12-cv-00685-D Document 8 Filed 12/19/12 Page 8 of 8
